     Case: 1:17-cv-05837 Document #: 14 Filed: 09/26/17 Page 1 of 3 PageID #:48




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

VAUN MONROE,

              Plaintiff,

       v.
                                                     No. 1:17-cv-005837
COLUMBIA COLLEGE OF CHICAGO and
BRUCE SHERIDAN,

              Defendant.

                     DEFENDANTS’ MOTION TO DISMISS
              COUNTS I, II AND III OF THE PLAINTIFF’S COMPLAINT

      Defendants Columbia College Chicago and Bruce Sheridan, by and through their

attorneys, Tribler Orpett & Meyer, P.C., respectfully move this Court, pursuant to Federal Rule

of Civil Procedure 12(b)(6), to dismiss with prejudice Counts I, II and III of Plaintiff Vaun

Monroe’s Complaint. In support of their motion, the defendants state the following:

       1.     The plaintiff’s Title VII claims (Counts I and II) and 42 U.S.C. §1981 claim

(Count III) must be dismissed because they are time-barred.

       2.     Claims brought pursuant to Title VII must be submitted to the Equal Employment

Opportunity Commission within 300 days of the date of the alleged discriminatory action. In the

present matter, the plaintiff filed his Charge of Discrimination more than 300 days after the

alleged discriminatory action: the decision to deny him tenure. His Title VII claim therefore

must be dismissed.

       3.     Claims brought pursuant to 42 U.S.C. §1981 must be brought within four years of

the date of the alleged discriminatory action. In the present matter, the plaintiff filed his

complaint more than four years after the decision that denied him tenure. His §1981 claim



                                               1
     Case: 1:17-cv-05837 Document #: 14 Filed: 09/26/17 Page 2 of 3 PageID #:49




therefore must be dismissed.

       4.     In their Memorandum in Support of the Motion to Dismiss, the defendants discuss

the principles applicable to this Motion. The Memorandum is being filed contemporaneously

with the present Motion and is incorporated by reference.

       WHEREFORE, for the reasons set forth here and in the supporting Memorandum of

Law, Columbia College Chicago and Bruce Sheridan respectfully request that Counts I, II and III

be dismissed with prejudice, pursuant to Federal Rule of Civil Procedure 12(b)(6).


                                            Respectfully submitted,

                                            Columbia College Chicago and Bruce Sheridan



                                            By: /s/ Jennifer H. Kay
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                                               2
     Case: 1:17-cv-05837 Document #: 14 Filed: 09/26/17 Page 3 of 3 PageID #:50




                                 CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of Defendants’ Motion to
Dismiss Counts I, II and III of the Plaintiff’s Complaint was served upon:

Thomas D. Rosenwein                               Ken Maynard, Jr.
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service was accomplished pursuant to ECF as to Filing Users and complies with LR 5.5 as to any
party who is not a Filing User or represented by a Filing User by mailing a copy to the above-
named attorney or party of record at the address listed above, from 225 W. Washington Street,
Suite 2550, Chicago, IL 60606, prior to 5:00 p.m. on the 26th day of September, 2017, with
proper postage prepaid.


                                           s/Jennifer H. Kay
                                           an Attorney




                                              3
